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 1                           UNITED STATES DISTRICT COURT FOR THE
                                   DISTRICT OF CONNECTICUT




 9
                                                  COMPLAINT
10
             DANIEL       GARRISON       ("Plaintiff'),   by and through       his attorneys,   ANGELA      K.
11
     TROCCOLI,        ESQUIRE       and Kimmel       &    Silverman,   PC,    alleges the   following   agains
12
     PORTFOLIO RECOVERY ASSOCIATES, INC. ("Defendant"):
13
                                               INTRODUCTION
14
             1.       Plaintiff's Complaint is based on the Fair Debt Collection Practices Act, 15
15

     US.C. §1692 et seq. ("FDCPA").
16

17                                      JURISDICTION AND VENUE

18           2.       Jurisdiction of this court arises pursuant to 15 US.C.        § 1692k(d), which states

19   that such actions may be brought and heard before "any appropriate United States district court

20   without regard to the amount in controversy," and 28 US.C.              § 1331 grants this court original

21   jurisdiction of all civil actions arising under the laws of the United States.
22
             3.       Defendant     conducts business in the state of Connecticut;          as such personal
23
     jurisdiction is established.
24
             4.       Venue is proper pursuant to 28 US.C. § 1391(b)(2).
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 1                                                 PARTIES

 2           5.      Plaintiff is a natural person residing in Portland, Connecticut.

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             6.      Plaintiff is a "consumer" as that term is defined by 15 U.S.C. §1692a(3), or in the
 4
     alternative is a non-debtor granted a cause of action. See Wenrich v. Robert E. Cole PC, 2001
 5
     WL 4994 (E.D. Pa. 2000).
 6
            7.       Defendant is a national debt collection company with its corporate headquarters
 7
     located at 120 Corporate Boulevard, Norfolk, Virginia 23502.
 8
             8.      Defendant is a "debt collector" as that term is defined by 15 U.S.C. § 1692a(6).
 9

             9.      Defendant acted through its agents, employees, officers, members, directors,
10

11   heirs, successors, assigns, principals, trustees, sureties, subrogees, representatives, and insurers.

12                                      FACTUAL ALLEGATIONS

13           10.     At all pertinent times hereto, Defendant was hired to collect an alleged Orchard

14   Bank credit card debt from Plaintiff.

15           11.     Based upon information and belief, the debt arose out of transactions that were
16
     primarily for personal, family, or household purposes, as Plaintiff has no business debt.
17
             12.     Beginning in or around June 2011, and continuing through January 2012,
18
     Defendant, and those it retained, placed repetitive collection calls to Plaintiff on his girlfriend's
19
     home telephone and his cellular telephone seeking to collect the alleged Orchard Bank debt.
20
             13.     Defendant's   harassing debt collection calls originated from numbers including,
21
     but not limited to (914) 513-0163.      The undersigned has confirmed that this number belongs to
22
     Defendant.
23

24           14.     Between June 2011 and January 2012, Defendant contacted Plaintiff, on average,

25   at least two (2) times a day and in excess often (10) times a week.



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 1           15.      In or around October 2011, Plaintiff spoke with a female representative              of

 2   Defendant and indicated that he did not owe this debt and demanded that Defendant cease
 3
     making repeated telephone to his telephone numbers.
 4
             16.      Plaintiff reiterated this request that calls cease to another female representative
 5
     and her male supervisor in January 2012.
 6
             17.      Despite these requests, Defendant continued to place repeated telephone calls to
 7
     Plaintiff's cellular telephone number and his girlfriend's home telephone number.
 8
             18.      Defendant's calls to Plaintiff's cellular telephone were placed primarily between
 9

     the hours of 10:00 AM and Noon, and around 4:00 P.M. in the afternoon; these are hours when
10

11   Plaintiff is at his place of employment.

12           19.      Plaintiff, a maintenance     supervisor    at a condominium       community,    handles

13   primarily outdoor carpentry work, which requires him to be on tall ladders and metal beams

14   during most of his day.

15
             20.      Family members and co-workers do not call his cellular telephone unless it is an
16
     emergency as it is dangerous for him to answer his telephone when on a ladder or metal beam.
17
             21.      When Defendant called, Plaintiff always had to check his telephone to see who
18
     was calling as he worried it was a family member or co-worker calling about an emergency.
19
             22.      Defendant's   repeated daily calls caused Plaintiff to be in numerous unsafe and
20
     dangerous situations, placing Plaintiff at risk for significant bodily injury or worse, death, each
21
     time the telephone rang.
22

23
             23.      During these calls Defendant demanded Plaintiff provide personal information to

24   them,   including banking      information;   however,     upon Plaintiff's   request   for information,

25   Defendant refused to provide Plaintiff with information regarding the debt.



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 1          24.      The limited information Defendant's     representatives   did provide Plaintiff often

 2   conflicted; specifically, Defendant's   representatives sometimes referred to the debt as a "First
 3
     National" debt and on other occasions as an "Orchard Bank" debt.
 4
            25.      Plaintiff has two Orchard Bank accounts, both in good standing, and has never
 5
     defaulted on a debt he owed to Orchard Bank.
 6
            26.      Further, Plaintiff has never owed any debt to an entity known as First National.
 7
            27.      On at least two occasions, Defendant's      representatives   spoke with Plaintiff's
 8
     girlfriend, Cynthia Sharr, when contacting him at Ms. Sharr's home telephone number.
 9

            28.      During these calls with Ms. Sharr, which took place in June 2011 and January
10

11   2012, Defendant was aggressive, told her personal information about Plaintiff, advised her that

12   Plaintiff owed a debt for a MasterCard, and sought payment from her for this alleged debt.

13          29.      These calls were so upsetting to Ms. Sharr that she demanded Plaintiff get the

14   calls to stop or told him he would need to move out of her home.

15
            30.      Ms. Sharr also told Plaintiff that she was not only embarrassed by the repeated
16
     telephone calls to her home telephone number, but was embarrassed that Plaintiff had this
17
     unresolved debt issue with Defendant.
18
            3 1.     This caused great embarrassment to Plaintiff and put a significant strain on his
19
     relationship with Ms. Sharr.
20
            32.      Defendant's    actions as described herein were taken with the intent to harass,
21
     abuse, deceive, upset, embarrass, and coerce payment from Plaintiff.
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24

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 1                                                  COUNT I
         DEFENDANT VIOLATED THE FAIR DEBT COLLECTION PRACTICES ACT
 2
            33.      In its actions to collect a debt, Defendant violated the FDCP A in one or more of
 3

     the following ways:
 4


 5                   a. Defendant violated the FDCP A generally;

 6                   b. Defendant violated §1692c(b) of the FDCP A when it contacted third parties i

 7                        connection to the collection of an alleged debt;

 8                   c. Defendant violated §1692d of the FDCP A when it harassed, oppressed                0

 9
                          abused Plaintiff in connection with the collection of a debt;
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                     d. Defendant violated §1692d( 5) of the FDCP A when it caused Plaintiff's phon
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                          to ring, and engaged Plaintiff in conversation repeatedly or continuously wit
12
                          the intent to annoy, abuse, or harass Plaintiff;
13
                     e. Defendant violated §1692e of the FDCP A when it used false, deceptive,             0
14
                          misleading representations    or means in connection with the collection of
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                          debt;
16

17
                     f.   Defendant    violated   §1692e(2)(A)     of the FDCPA      when it made

18                        representations of the character, amount or legal status of the debt;

19                   g. Defendant     violated    §1692e(10)     of the FDCPA when it used

20                        deceptive means in attempting to collect a debt;

21                   h. Defendant      violated   §1692f of the FDCP A when           it used     unfair
22
                          unconscionable means in connection with the collection of a debt; and
23
                     1.   Defendant violated §1692f( 1) of the FDCP A when they attempted to collec
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                          an amount not authorized by agreement or law.
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 1           WHEREFORE,         Plaintiff, DANIEL GARRISON, respectfully prays for a judgment a

 2   follows:
 3
                      a. All actual damages suffered pursuant to 15 US.C. § 1692k(a)(I);
 4
                      b. Statutory damages of $1,000.00 for the violation of the FDCP A pursuant to
 5
                           15 US.C. § 1692k(a)(2)(A);
 6
                      c. All reasonable attorneys' fees, witness fees, court costs and other litigatio
 7
                           costs incurred by Plaintiff pursuant to 15 US.C. § 1693k(a)(3); and
 8
                      d. Any other relief deemed appropriate by this Honorable Court.
 9


10
                                       DEMAND      FOR JURY TIDAL
11
             PLEASE TAKE NOTICE that Plaintiff, DANIEL GARRISON, demands a jury trial in
12
     this case.
13

14
         Dated: 01/31112
15
                                                    RESPECTFULLY        SUBMITTED,
16

17
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18
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